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                         IN THE UNITED STATES DISTRICT COURT     F IL E D
                          FOR THE WESTERN DISTRICT OF TEXAS
                                                            14 APR 25
                                    AUSTIN DIVISION                    PM              14:   18
                                                                     CL    u           COURT
                                                                    ?ETE       5TcT   OF TIXAS
EMPOWER TEXANS, INC.; and MICHAEL
QUINN SULLIVAN,
                               Plaintiffs,

-vs-                                                              Case No. A-14-CA-172-SS

THE        STATE        OF    TEXAS          ETHICS
COMMISSION; and NATALIA LUNA ASHLEY,
in her capacity as Interim Executive Director of
the Texas Ethics Commission,
                           Defendants.



                                    ORDER OF DISMISSAL


         BE IT REMEMBERED on this day the Court entered its order dismissing this case, and

thereafter the Court enters the following:

                  IT IS ORDERED, ADJUDGED, and DECREED that all claims brought by Plaintiffs

         Empower Texans, Inc. and Michael Quinn Sullivan in the above-styled cause are

         DISMISSED WITHOUT PREJUDICE. The parties shall bear their own costs.
                                4
         SIGNED this the         day of April 2014.




                                                      SAS
                                                        SDTT
                                                       ITED                     JUDGE




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